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UNITED STATES DISTRICT COURT                                      DOC#:
SOUTHERN DISTRICT OF NEW YORK                                     DATE FILED: If/( fo (IC,


 WILFREDO TORRES,

                             Plaintiff,

                        V.
                                                               No. 16-CV-2362 (RA)
 CITY OF NEW YORK, et al.,
                                                                      ORDER
                             Defendants.



RONNIE ABRAMS, United States District Judge:

       On February 14, 2018, Magistrate Judge Fox granted Plaintiffs request for leave to amend,

permitting him to add, among other individuals, Department of Buildings Inspector Denis

McGowan. Plaintiff's amended complaint appears to allege that Defendant McGowan violated his

constitutional rights; Defendant McGowan contends that Plaintiff fails to state a claim for relief,

and requests the opportunity to fully brief this issue. Defendant McGowan's request is GRANTED,

and he is ordered to file and serve his motion and supporting papers no later than September 13,

2019. Pursuant to Rule 4.A. of the Court's Special Rules & Practices in Civil Pro Se Cases,

Plaintiff must serve and file opposition papers by October 4, 2019, and Defendant McGowan's

reply must be served and filed by October 18, 2019.

       The Court intends to rule on the various Defendants' pending-and in Defendant

McGowan's case, forthcoming-dispositive motions simultaneously. In light of this, and given

that Defendant McGowan's motion is not yet fully briefed, this action is STAYED pending the

completion of briefing of Defendant McGowan's motion.

       Finally, the Court hereby withdraws its April 16, 2019 amended order of reference to
         Case 1:16-cv-02362-RA-KNF Document 357 Filed 08/16/19 Page 2 of 2



Magistrate Judge Fox as to the dispositive motions listed. The case will remain referred to Judge

Fox for general pretrial.

SO ORDERED

Dated:      August 16, 2019
            New York, New York

                                                Ronni      ms
                                                Unite States District Judge




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